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                          UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                                  www.flsb.uscourts.gov

In re:                                               Case No: 16-19222-LMI

JOHN J. FINTON                                       Chapter 11
_____________________Debtor__/

                  UNITED STATES TRUSTEE’S MOTION TO DISMISS CASE

         Daniel M. McDermott, United States Trustee for Region 21, pursuant to 11 U.S.C. §

1112 (b), respectfully moves this Court to enter an order dismissing this case, and in support

states as follows:

         1.      John J. Finton, (the “Reorganized Debtor”), confirmed its Second Amended Plan

of Reorganization (the “Plan of Reorganization”) on October 19, 2018 (ECF 448).

         2.      Paragraph nine (9), page six (6) of the confirmation order (ECF 448), states as

follows:

              The Debtor shall pay the United States Trustee the appropriate sum required
              pursuant to 28 U.S.C. §1930(a)(6) through Confirmation on the Effective Date.
              The Reorganized Debtor shall file with the Court post-confirmation Quarterly
              Operating Reports and pay the United States Trustee the appropriate sum
              required pursuant to 28 U.S.C. §1930(a)(6) for post-confirmation periods within
              the time periods set forth in 28 U.S.C. §1930(a)(6), until the earlier of the
              closing of this Case, by the issuance of a Final Decree by the Court, or upon
              entry of an order of this Court dismissing this Case, or converting this Case to
              another chapter under the Code.

         3.      The Effective Date of the Debtor’s confirmed Plan of Reorganization occurred on

November 3, 2018 (ECF 459) and the Debtor has not yet paid the total of the United States

Trustee statutory fees (the “Statutory Fees”). At the time of confirmation, the Debtor owed

approximately $9,425 in Statutory Fees and has not made any payments. The Debtor presently
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owes $11,050 in Statutory Fees. Pursuant to 11 U.S.C. § 1112(b)(4)(K), the non-payment of any

fees or charges required under 28 U.S.C. Section 1930(a)(6) is cause to dismiss the case.

         4.        Further, the Debtor’s failure to pay the Statutory Fees as required by the Plan of

Reorganization and the Order approving same constitutes an inability by the Debtor to effectuate

substantial consummation of his confirmed Plan of Reorganization, and constitutes a material

default of same, which are additional cause to dismiss the case pursuant to 11 U.S.C. §§

1112(b)(4)(M) and (N).

         5.        The foregoing factors are indicative of the Reorganized Debtor’s inability to

manage its affairs and effectively maneuver through the reorganization process. The United

States Trustee has established sufficient cause pursuant to § 1112(b), and therefore, it is in the

best interest of creditors and the estate that this case be dismissed.

         WHEREFORE, the United States Trustee request this Court to enter an Order dismissing

this case; and for such other and further relief that the Court may deem appropriate.

         I H E R E B Y CE R T IFY that I am admitted to the Bar of the United States District Court for the Southern District
of Florida and that I am in compliance with all additional qualifications to practice before this Court as set forth in Local
Rule 2090-1(A).

Dated: January 31, 2019                                  Daniel M. McDermott
                                                         United States Trustee Region 21

                                                         By: /s/ Johanna P. Armengol
                                                         Johanna P. Armengol, Trial Attorney
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                              CERTIFICATE OF SERVICE

        I hereby certify that on January 31, 2019, a true and correct copy of the United States
Trustee’s Motion to Dismiss, was served to the following, electronically through CM/ECF, on
parties having appeared electronically in the instant matter:


   •   Eric N Assouline ena@assoulineberlowe.com, ah@assoulineberlowe.com
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and that a copy hereof shall be served by U.S. Mail, postage prepaid, on parties not
appearing electronically:
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                                                      /s/ Johanna P. Armengol
                                                      Johanna P. Armengol

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